Case 18-42994-drd7   Doc 270    Filed 11/20/20 Entered 11/20/20 16:15:35   Desc Main
                               Document     Page 1 of 30


                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF MISSOURI

 IN RE:                             )
                                    )
 CAROL LINDA DILLE                  )         Case No.     18-42994-drd7
                                    )
                                    )
                        Debtor.     )
                                    )
 VICTOR WEBER, TRUSTEE,             )
                                    )         Adv. Proc. No.
                        Plaintiff,  )
                                    )
 v.                                 )
                                    )
 GENTRY ROOFING, LLC                )
                                    )
 and                                )
                                    )
 THE GREEN PEOPLE, LTD.             )
                                    )
 and                                )
                                    )
 DILLE FAMILY REVOCABLE TRUST )
 DATED October 30, 2008             )
                                    )
 and                                )
                                    )
 GERALD SANDERS                     )
                                    )
 and                                )
                                    )
 ALLIANCE OF DIVINE LOVE -          )
 CHAPEL 1202                        )
                                    )
 and                                )
                                    )
 SASHA INVESTMENTS, LLC             )
                                    )
 And                                )
                                    )
 CHRIS DILLE                        )
                                    )
                        Defendants. )

                                          1
Case 18-42994-drd7       Doc 270    Filed 11/20/20 Entered 11/20/20 16:15:35               Desc Main
                                   Document     Page 2 of 30




      COMPLAINT TO AVOID AND RECOVER FRAUDULENT TRANSFERS,
  PREFERENTIAL TRANSFERS, AND FOR DECLARATORY JUDGMENTS AND TO
     DETERMINE THE EXTENT VALIDITY AND PRIORITY OF LIENS AND
             INTERESTS IN THE PROPERTY OF THE ESTATE


       COMES NOW Victor Weber, Trustee, and for his Complaint states and alleges as follows:

                                             PARTIES

    1. Plaintiff, Victor Weber is the duly appointed, qualified and acting Chapter 7 trustee in the

       above captioned chapter 7 bankruptcy case.

    2. Defendant Gentry Roofing, LLC is a Missouri limited liability company, which may be

       served with process through its registered agent, Karen S. Rosenberg, 4550 Belleview, Kanas

       City, Missouri 64111.

    3. Defendant, The Green People, Ltd. was a Missouri corporation which was formed on

       August 8, 2013 and administratively dissolved on April 4, 2014 for failure to file an annual

       registration report. The Green People, Ltd. may be served via its registered agent, Carol L.

       Dille at 4937 Westwood Road, Kansas City, Missouri 64112.

    4. Defendant, the Dille Family Revocable Trust Dated October 30, 2008 (“The Dille Family

       Revocable Trust”) was a Missouri trust which terminated on or before March 30, 2014. It

       can be served through process on its final trustee, Loren Rea at 1001 Westport Road, Kansas

       City, Missouri 64111, and its beneficiaries Carol L. Dille at 4937 Westwood Road, Kansas

       City, Missouri 64112 and Chris Dille at 4605 Liberty, Kansas City, Missouri.

    5. Gerald Sanders is an individual who resides in the United States territory of Guam.

    6. Alliance of Divine Love Chapel 1202 was a Missouri corporation which was formed on

       February 29, 2012 and which was administratively dissolved on December 18, 2013.

                                                  2
Case 18-42994-drd7        Doc 270     Filed 11/20/20 Entered 11/20/20 16:15:35                Desc Main
                                     Document     Page 3 of 30


        Alliance of Divine Love Chapel 1202 may be served via its registered agent, Carol L. Dille at

        4937 Westwood Road, Kansas City, Missouri 64112.

    7. Sasha Investments, LLC is a Missouri limited liability company. Sasha Investments, LLC can

        be served with process through its registered agent LaCreta Wheeler, 15955 NW 134th Circle,

        Platte City, Missouri 64079.

    8. Chris Dille is an individual who resides and can be served at 4605 Liberty Ave. Kansas City,

        Mo. 64112.



                                       JURISDICTION AND VENUE

    9. This Court has jurisdiction over this adversary proceeding pursuant to Sections 157(a) and

        1334(a) of Title 28 of the United States Code because it relates to the Chapter 7 case of the

        debtor administered in this Court under case number 18-42994-drd7. This adversary proceeding

        is a core proceeding pursuant to Section 157(b)(2)(A), (B), (E), (F), (H), (K) and (O) of Title 28

        of the United States Code.

    10. Venue of this adversary proceeding is proper in this district pursuant to Section 1409(a) of Title

        28 of the United States Code.

    11. This adversary proceeding is commenced pursuant to Rule 7001 of the Federal Rules of

        Bankruptcy Procedure.



                                        GENERAL ALLEGATIONS

                                               The Real Estate

    12. On November 20, 2018, the debtor filed a voluntary petition under chapter 13 of the

        Bankruptcy Code. The debtor’s schedules, filed on December 5, 2018 list five pieces of real

                                                    3
Case 18-42994-drd7         Doc 270    Filed 11/20/20 Entered 11/20/20 16:15:35                Desc Main
                                     Document     Page 4 of 30


        estate in which the debtor has an interest:

            a. 4937 Westwood Road, Kansas City, Mo. 64112

            b. 4933 Westwood Road, Kansas City, Mo. 64112

            c. 781 NW 1621 Rd. Bates City, Mo. 64011;

            d. 206 East 66th Street, Kansas City, Mo. 64113

            e. 4605 Liberty Street, Kansas City, Mo. 64112

        The above listed real estate, in addition to a lot with the legal description LOT 117 IN

        OAKSHIRE, 3RD PLAT AS SHOWN BY THE PLAT FILED IN PLAT BOOK 11, AT

        PAGES 46-49, IN JOHNSON COUNTY, MISSOURI are collectively referred to herein as

        the Real Estate.



                                                 4937 Westwood

    13. The debtor, Carol Linda Dille first acquired a sole fee simple interest in the real estate

        described as 4937 Westwood Road, Kansas City, Missouri via a quitclaim deed to her as a

        single person and from Phillip Dale Dean, dated July 16th, 1980. The legal description of this

        property is “Lot 33, WESTWOOD PARK, a subdivision in Kansas City, Jackson County,

        Missouri, according to the recorded plat thereof.” This property will be referred to herein as

        “4937 Westwood.” This deed recites that the parties to the deed had previously been

        husband and wife and that the conveyance was made pursuant to a decree of divorce.

    14. In a quitclaim deed, dated October 20, 2014, Carol Linda Dille, purported to convey her

        interest in 4937 Westwood to the Dille Family Revocable Trust.

    15. The Dille Family Revocable Trust was a Missouri trust which terminated on or before March

        30, 2014. It was created by Carol Dille’s mother, Catherine Dille, and had two beneficiaries,

                                                      4
Case 18-42994-drd7        Doc 270    Filed 11/20/20 Entered 11/20/20 16:15:35                 Desc Main
                                    Document     Page 5 of 30


        Carol Dille and Chris Dille.

    16. On or about June 20, 2017 Loren Rea executed a deed of trust purporting to convey a lien in

        4937 Westwood to Gregory Thomson, as Trustee for Sasha Investments, LLC to secure the

        repayment of a debt owing in an original principal amount of $101,000. This deed of trust

        was filed with the Jackson County, Missouri Recorder of Deeds on September 17, 2018.




                                                   4933 Westwood

    17. The debtor, Carol Linda Dille first acquired title to the real estate described as 4933

        Westwood Road, Kansas City, Missouri via a warranty deed conveying this property to her

        and from Diane T. Hand, dated August 12, 2005. The legal description of this property is

        “Lot 34, WESTWOOD PARK, a subdivision in Kansas City, Jackson County, Missouri,

        according to the recorded plat thereof.” This property shall be referred to herein as “4933

        Westwood.”

    18. In a quitclaim deed, dated December 15, 2014, Carol Linda Dille, purported to convey her

        interest in 4933 Westwood to the Dille Family Revocable Trust.



                                               -    781 NW 1621 Rd.

        21      The debtor Carol Linda Dille first acquired an interest in the real estate described as

             781 NW 1621 Rd., Kansas City, Missouri via a warranty deed conveying this property to

             her, dated May 18, 2017, and from Alan J. Branhagen. The legal description of this

             property is “TRACT I: Lot 119 in OAKSHIRE, 3RD PLAT, as shown by the plat filed in

             Plat Book 11, at pages 46-49 in Johnson County, Misssouri, according to the recorded

                                                     5
Case 18-42994-drd7       Doc 270     Filed 11/20/20 Entered 11/20/20 16:15:35               Desc Main
                                    Document     Page 6 of 30


            plat thereof. TRACT II: Lot 120 in OAKSHIRE, 3RD PLAT, as shown by the plat filed

            in Plat Book 11 at Pages 46-48; in Johnson County, Missouri according to the recorded

            plat thereof” This property, consisting of Tract I and Tract II shall be referred to herein

            as “781 NW 1621 Rd.”

       22      In two quitclaim deeds, both dated July 7, 2017, Carol Linda Dille, purported to

            convey her interest in 781 NW 1621 Rd to the Alliance of Divine Love – Chapel 1202.

       23      The Alliance of Divine Love Chapel 1202 was a Missouri non profit corporation

            which was formed on February 29, 2012 by Carol Dille and which was administratively

            dissolved on December 18, 2013.

       24      The debtor Carol Linda Dille first acquired an interest in the real estate described as

            Lot 117 in OAKSHIRE, 3RD PLAT, as shown by the plat filed in Plat Book 11 at Pages

            46-49; in Johnson County, Missouri via a warranty deed conveying this property to the

            Alliance of Divine Love – Chapel 1202, dated September 30, 2016, and from Donald L.

            Bree and Donna J. Bree, Trustees of the Bree Family Living Trust, dated February 8,

            2000. This property shall be referred to herein as “Lot 117”

       25      On or about June 20, 2017 Carol Dille executed a deed of trust conveying an interest

            in Lot 117 to Gregory Thomson, as Trustee for Sasha Investments, LLC to secure the

            repayment of a debt owing in an original principal amount of $101,000. This deed of

            trust was filed with the Johnson County, Missouri Recorder of Deeds on September 17,

            2018.




                                              206 East 66th Street

                                                   6
Case 18-42994-drd7        Doc 270       Filed 11/20/20 Entered 11/20/20 16:15:35              Desc Main
                                       Document     Page 7 of 30


       26       The debtor Carol Linda Dille first acquired an interest in the real estate described as

            206 East 66th Street, Kansas City, Missouri via a warranty deed to the Green People, Ltd,

            dated April 2, 2013 and from Gerald Sanders. The legal description of this property is

            “Lot 13, and the westerly 10 feet of Lot 14, Block 23, ARMOUR HILLS, a subdivision

            in Kansas City, Jackson County, Missouri, according to the recorded plat thereof” This

            property shall be referred to herein as “206 East 66th.”

       27       The debtor, Carol Linda Dille, formed the defendant corporation the Green People,

            Ltd. on July 28, 2000. Upon information and belief, Ms. Dille is the Green People,

            Ltd’s. sole shareholder.

       28       According to the last annual report filed by the Green People, Ltd. with the Missouri

            Secretary of State in March of 2017, Ms. Dille was the corporation’s only officer and

            only board member. This corporation was administratively dissolved on April 4, 2014

            for failure to file an annual report.

       29       On December 11, 2014, Carol L. Dille executed a quitclaim deed, purportedly on

            behalf of Green People, Ltd. quit claiming all right title and interest in the 206 East 66th

            Street property to the Dille Family Revocable Trust.



                                                    4605 Liberty Ave

       30       The debtor, Carol Linda Dille acquired title to the real estate described as 4605

            Liberty Avenue, Kansas City, Missouri a Trustee’s Deed of Distribution from the Dille

            Family Revocable Trust dated March 30, 2014. The legal description of this property is

            “Lot 44-44, WIEDENMANN PARK, a subdivision in Kansas City, Jackson County,

            Missouri.” This property shall be referred to herein as “4605 Liberty.”

                                                       7
Case 18-42994-drd7        Doc 270    Filed 11/20/20 Entered 11/20/20 16:15:35                   Desc Main
                                    Document     Page 8 of 30




                                                   Bankruptcy Case

       31       The debtor’s bankruptcy case commenced with the filing of her voluntary petition

            under chapter 13 of the Bankruptcy Code on November 20, 2018.

       32       On October 5, 2020, the United States Trustee appointed Victor F Weber as trustee

            for the debtor’s above-captioned bankruptcy estate.



                          The Debtor’s Application for Her Husband’s Social Security Benefits

       33       The debtor, Carol Dille, married Gerald A. Sanders in 1988.

       34       The couple separated in 2009. Mr. Sanders has been living overseas since their

            separation.

       35       On September 20, 2013 without Mr. Sanders knowing, Ms. Dille completed an

            application for Mr. Sander’s Social Security Retirement Benefits using Mr. Sander’s

            name, social security number, and date of birth.

       36       Ms. Dille listed her own contact information on the application and indicated that

            Mr. Sander’s Social Security benefits should be deposited into a bank account held in the

            name of The Alliance of Divine Love Chapel 1202.

       37       Mr. Sanders Social Security Benefits were deposited into the The Alliance of Divine

            Love Chapel 1202 beginning in November of 2013.

       38       Ms. Dille collected and spent Mr. Sander’s Social Security benefits for her own

            benefit.

       39       By the acts set forth above, Ms. Dille committed fraud against both Gerald Sanders

            and the United States of America, both of whom have claims against her.

                                                    8
Case 18-42994-drd7       Doc 270     Filed 11/20/20 Entered 11/20/20 16:15:35                Desc Main
                                    Document     Page 9 of 30




                COUNT ONE - AVOIDANCE OF PREFERENTIAL TRANSFERS

                                    TO SASHA INVESTMENTS, LLC

       40       The plaintiff repeats and realleges the allegations contained above in all prior

            paragraphs, as though fully set forth at length.

       41       On or about July 17, 2017, the debtor Carol Dille executed a promissory note

            payable to Sasha Investments, LLC in which she promised to pay Sasha Investments

            $101,000.

       42       In order to secure this obligation the debtor executed a deed of trust, dated July 17,

            2017 granting Sasha Investments a lien in Lot 117 to secure the debtor’s obligation to

            pay Sasha Investments $101,000.

       43       In order to secure this $101,000obligation, Loren Rea, as trustee of the Dille Family

            Revocable Trust executed a deed of trust, dated July 17, 2017 granting Sasha

            Investments liens in 4937 Westwood to secure the debtor’s obligation to pay Sasha

            Investments $101,000.

       44       Sasha Investments filed these deeds of trust with the proper Recorders of Deeds on

            September 18, 2018.

       45       The recording of the deeds of trust (the “DOT Transfer”) was a transfer of the

            interests of the debtor in property.

       46       The DOT Transfer was made on account of the $101,000 principal debt owing

            Sasha Investments, LLC, by the debtor.

       47       This debt was owing more than a year before the DOT Transfer was made.

       48       The DOT Transfer was made when the debtor was insolvent.

                                                   9
Case 18-42994-drd7        Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                    Desc Main
                                 Document    Page 10 of 30


       49       The DOT Transfer was made within 90 days before the date of the filing of the

            debtor’s petition.

       50       The DOT Transfer would enable Sasha Investments to receive more than it would

            receive if this case were a case under chapter 7 of this title and the transfer had never

            been made.



       WHEREFORE, the plaintiff respectfully prays that the Court enter a judgment for him and

    against Sasha Investments, LLC avoiding the DOT Transfer pursuant to Section 547 of the

    Bankruptcy Code and preserving the transferred perfected liens for the benefit of the estate and

    for such other and further relief as the Court deems just and equitable.



                 COUNT TWO – RECOVERY OF ESTATE PROPERTY – SASHA

                                           INVESTMENTS, LLC

       51       The plaintiff repeats and realleges the allegations contained above in all prior

            paragraphs, as though fully set forth at length.

       52       The plaintiff is entitled to avoid the DOT Transfer described above pursuant to

            section 547 of the Bankruptcy Code.

       53       Sasha Investments, LLC was the initial transferee of the DOT Transfer and the

            entity for whose benefit the DOT Transfer was made.

       54       Pursuant to Section 550 of the Bankruptcy Code, the plaintiff is entitled to recover

            the property transferred or the value of the transfer from Sasha Investments LLC



            WHEREFORE, the plaintiff requests that this Court enter a judgment avoiding the

                                                   10
Case 18-42994-drd7        Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                     Desc Main
                                 Document    Page 11 of 30


            DOT Transfer and preserving the transferred perfected liens for the benefit of the estate

            or entering judgment against Sasha Investments, LLC for the value of the DOT Transfer

            and granting such other and further relief as the Court deems just and equitable.




             COUNT THREE – AVOIDANCE OF FRAUDULENT TRANSFERS

                                       THE DILLE FAMILY TRUST

       55       The plaintiff repeats and realleges the allegations contained above in all prior

            paragraphs, as though fully set forth at length.

       56       This Count is brought under Section 428.024.1(1) of Missouri’s Statutes because

            The Dille Family Trust Transfers (defined infra) were made with actual intent to defraud

            Carol Dille’s creditors.

       57       This Count is also brought under Sections 428.024.1(2) and 428.029.1 and .2. of

            Missouri’s Statutes because The Dille Family Trust Transfers were made in exchange for

            less than adequate consideration. Carol Dille was insolvent when the Transfers were

            made and because the Dille Family Trust Transfers deepened Carol Dille’s already

            existing insolvency.

       58       In a quitclaim deed, dated October 20, 2014, Carol Linda Dille, purported to convey

            her interest in 4937 Westwood to the Dille Family Revocable Trust.

       59       In a quitclaim deed, dated December 15, 2014, Carol Linda Dille, purported to

            convey her interest in 4933 Westwood to the Dille Family Revocable Trust.

       60       On December 11, 2014, Carol L. Dille executed a quitclaim deed, on behalf of Green

            People, Ltd. quit claiming all right title and interest in 206 East 66th to the Dille Family

                                                   11
Case 18-42994-drd7        Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                   Desc Main
                                 Document    Page 12 of 30


            Revocable Trust.

       61       These transfers via quitclaim deed of the property at 4937 Westwood, 4933

            Westwood, and 206 East 66th Street, are referred to herein as “The Dille Family Trust

            Transfers.”

       62       The Dille Family Trust Transfers were transfers of the interests of the debtor, Carol

            Dille in property.

       63       The transferee, the Dille Family Trust was a testamentary spendthrift trust, settled by

            Carol Dille’s mother, Catherine Dille.

       64       The Dille Family Trust has two beneficiaries, Carol Dille and her brother Chris Dille.

       65       The Dille Family Trust is an insider of the debtor, Carol Dille.

       66       The Dille Family Trust Transfers were made for no consideration.

       67       After the Dille Family Trust transfers were made, Carol Dille retained control of

            4937 Westwood, 4933 Westwood, and 206 East 66th.

       68       The Dille Family Trust Transfers were transfers of substantially all of Carol Dille’s

            assets.

       69       Carol Dille concealed the Dille Family Trust Transfers. Though was obliged to

            disclose them in her bankruptcy cases filed on: February 12, 2015 in the Western

            District of Missouri, case no. 15-40338-drd7: May 7, 2015 in the Western District of

            Missouri, case no. 15-41327-drd13; and February 16, 2016 in the Western District of

            Missouri, case no. 16-40342-drd13 – she failed to do so.

       70       Carol Dille was insolvent when the Dille Family Trust Transfers were made or she

            became insolvent as a result of the Dille Family Trust Transfers

       71       The value of Carol Dille’s interest in 4937 Westwood, 4933 Westwood, and 206 East

                                                     12
Case 18-42994-drd7       Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                     Desc Main
                                Document    Page 13 of 30


            66th Street was several hundred thousand dollars when the Dille Family Transfers were

            made.

       72       Carol Dille made the Dille Family Trust Transfers with the intent of hindering,

            delaying, and defrauding her then existing creditors including, but not limited to, her

            then-husband, Gerald Sanders and the United States Social Security Administration.

       73       When Carol Dille made the Dille Family Trust Transfers, she intended to incur or

            reasonably believe she would incur debts beyond her ability to pay as they came due,

            including, but not limited to, her ever-increasing debts owing Gerald Sanders and the

            United States Social Security Administration.



    WHEREFORE, the plaintiff respectfully prays that the Court enter a judgment for him and

    against the defendant the Dille Family Trust avoiding the Dille Family Trust Transfers and

    preserving the transferred real estate for the benefit of the bankruptcy estate and granting such

    other and further relief as the Court deems just and equitable.



              COUNT FOUR – AVOIDANCE OF FRAUDULENT TRANSFERS

                                    THE DILLE FAMILY TRUST

       74       The plaintiff repeats and realleges the allegations contained above in all prior

            paragraphs, as though fully set forth at length.

       75       This Count is brought under Section 548(e) of the Bankruptcy Code because The

            Dille Family Trust Transfers were transfers to a self-settled trust or similar device by the

            debtor with actual intent to hinder delay or defraud the debtor’s creditors.

       76       The Dille Family Trust Transfers were transfers of the interests of the debtor, Carol

                                                   13
Case 18-42994-drd7        Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                   Desc Main
                                 Document    Page 14 of 30


            Dille in property.

       77       The transferee, the Dille Family Trust was a testamentary trust, settled by Carol

            Dille’s mother, Catherine Dille.

       78       The Dille Family Trust has two beneficiaries, Carol Dille and her brother Chris Dille.

       79       The Dille Family Trust is an insider of the debtor, Carol Dille.

       80       The Dille Family Trust is a similar device to a self-settled trust.

       81       By transferring property to the Dille Family Trust, the debtor was a settlor of the

            trust.

       82       As to the debtor, the Dille Family Trust is a self-settled trust.

       83       The Dille Family Trust Transfers were made for no consideration.

       84       After the Dille Family Trust transfers were made, Carol Dille retained control of

            4937 Westwood, 4933 Westwood, and 206 East 66th.

       85       The Dille Family Trust Transfers were transfers of substantially all of Carol Dille’s

            assets.

       86       Carol Dille concealed the Dille Family Trust Transfers. Though was obliged to

            disclose them in her bankruptcy cases filed on: February 12, 2015 in the Western

            District of Missouri, case no. 15-40338-drd7: May 7, 2015 in the Western District of

            Missouri, case no. 15-41327-drd13; and February 16, 2016 in the Western District of

            Missouri, case no. 16-40342-drd13 – she failed to do so.

       87       Carol Dille was insolvent when the Dille Family Trust Transfers were made or

            became insolvent as a result of the Dille Family Trust Transfers

       88       The value of Carol Dille’s interest in 4937 Westwood, 4933 Westwood, and 206 East

            66th Street was several hundred thousand dollars when the Dille Family Transfers were

                                                   14
Case 18-42994-drd7       Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                    Desc Main
                                Document    Page 15 of 30


            made.

       89       Carol Dille made the Dille Family Trust Transfers with the intent of hindering,

            delaying, and defrauding her then existing creditors including, but not limited to, her

            then-husband, Gerald Sanders and the United States Social Security Administration.

       90       When Carol Dille made the Dille Family Trust Transfers, she intended to incur or

            reasonably believe she would incur debts beyond her ability to pay as they came due,

            including, but not limited to, her ever-increasing debts owing Gerald Sanders and the

            United States Social Security Administration.



    WHEREFORE, the plaintiff respectfully prays that the Court enter a judgment for him and

    against the defendant the Dille Family Trust avoiding the Dille Family Trust Transfers and

    preserving the transferred real estate for the benefit of the bankruptcy estate and granting such

    other and further relief as the Court deems just and equitable.



            COUNT FIVE – RECOVERY OF ESTATE PROPERTY – DILLE FAMILY

                                                    TRUST

       91       The plaintiff repeats and realleges the allegations contained above in all prior

            paragraphs, as though fully set forth at length.

       92       The plaintiff is entitled to avoid the Dille Family Trust Transfers described above

            pursuant to sections 548(e) and 544(b) of the Bankruptcy Code.

       93       The Dille Family Trust was the initial transferee of the Dille Family Trust Transfers

            and the entity for whose benefit the Dille Family Trust Transfers were made.

       94       Pursuant to Section 550 of the Bankruptcy Code, the plaintiff is entitled to recover

                                                   15
Case 18-42994-drd7        Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                   Desc Main
                                 Document    Page 16 of 30


            the property transferred or the value of the transfer from the Dille Family Trust.



    WHEREFORE, the plaintiff respectfully prays that the Court enter a judgment for him and

    against the defendant the Dille Family Trust avoiding the Dille Family Trust Transfers and

    preserving the transferred real estate for the benefit of the bankruptcy estate and granting such

    other and further relief as the Court deems just and equitable.



                COUNT SIX – AVOIDANCE OF FRAUDULENT TRANSFERS

                      THE ALLIANCE OF DIVINE LOVE - CHAPEL 1202

       95       The plaintiff repeats and realleges the allegations contained above in all prior

            paragraphs, as though fully set forth at length.

       96       This Count is brought under Section 428.024.1(1) of Missouri’s Statutes because

            The Alliance of Divine Love Transfers (defined infra) were made with actual intent to

            defraud Carol Dille’s creditors.

       97       This Count is also brought under Section 548(a)(1)(B) of the Bankruptcy Code and

            under Sections 428.024.1(2) and 428.029.1 and .2. of Missouri’s Statutes because The

            Alliance of Divine Love Transfers were made in exchange for less than adequate

            consideration. Carol Dille was insolvent when the transfers were made and because the

            The Alliance of Divine Love Transfers deepened Carol Dille’s already existing

            insolvency.

       98       In two quitclaim deeds, both dated July 7, 2017 Carol Dille, purported to convey her

            interest in 781 NW 1621 to The Alliance of Divine Love – Chapel 1202

       99       From 2012 to the present, Carol Dille transferred hundreds of thousands of dollars

                                                   16
Case 18-42994-drd7             Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35              Desc Main
                                      Document    Page 17 of 30


             to the Alliance of Divine Love – Chapter 1202.

       100       Carol Linda Dille’s transfer on July 17, 2017 of 781 NW 1621 to The Alliance of

             Divine Love – Chapel 1202 and Carol Dille’s transfer of hundreds of thousands of

             dollars to the Alliance of Divine Love – Chapel 1202 are collectively referred to herein as

             “The Alliance of Divine Love Transfers.”

       101       The Alliance of Divine Love Transfers were transfers of the interests of the debtor,

             Carol Dille in property.

       102       The transferee, Alliance of Divine Love – Chapel 1202, was a Missouri nonprofit

             corporation. Carol Dille was its only member and officer.

       103       The Alliance of Divine Love – Chapel 1202 is an insider of the debtor, Carol Dille.

       104       The Alliance of Divine Love Transfers were made for no consideration.

       105       After the Alliance of Divine Love Transfers were made, Carol Dille retained control

             of 781 NW 1621 and the funds transferred by her to Alliance of Divine Love – Chapel

             1202

       106       The Alliance of Divine Love Transfers were transfers of substantially all of Carol

             Dille’s assets.

       107       Carol Dille concealed the Alliance of Divine Love Transfers. Carol Dille was obliged

             to disclose the transfer of 781 NW 1621 in the above-captioned bankruptcy proceeding,

             but she failed to do so. Additionally, she was obliged to disclose the transfers of funds

             in the above-captioned bankruptcy case and on her other bankruptcy cases, filed on:

             February 12, 2015 in the Western District of Missouri, case no. 15-40338-drd7: May 7,

             2015 in the Western District of Missouri, case no. 15-41327-drd13; and February 16,

             2016 in the Western District of Missouri, case no. 16-40342-drd13 – but she failed to do

                                                   17
Case 18-42994-drd7           Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                  Desc Main
                                    Document    Page 18 of 30


              so.

        108         Carol Dille was insolvent when the Alliance of Divine Love Transfers were made or

              became insolvent as a result of the Alliance of Divine Love Transfers.

        109         The value of 781 NW 1621 and the funds transferred to the Alliance of Divine Love

              – Chapel 1202, were several hundred thousand dollars when the Alliance of Divine Love

              Transfers were made.

        110         Carol Dille made the Alliance of Divine Love Transfers with the intent of hindering,

              delaying, and defrauding her then existing creditors including, but not limited to, her

              then-husband, Gerald Sanders and the United States Social Security Administration.

        111         When Carol Dille made the Alliance of Divine Love Transfers, she intended to incur

              or reasonably believe she would incur debts beyond her ability to pay as they came due,

              including, but not limited to, her ever-increasing debts owing Gerald Sanders and the

              United States Social Security Administration.



    WHEREFORE, the plaintiff respectfully prays that the Court enter a judgment for him and

    against the defendant the Alliance of Divine Love – Chapel 1202 avoiding the Alliance of Divine

    Love Transfers: preserving the transferred real estate for the benefit of the bankruptcy estate;

    entering judgment against the Alliance of Divine Love – Chapel 1202 for the value of the

    Alliance of Divine Love Transfers and granting such other and further relief as the Court deems

    just and equitable.




                COUNT SEVEN – AVOIDANCE OF FRAUDULENT TRANSFERS

                                                     18
Case 18-42994-drd7             Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                 Desc Main
                                      Document    Page 19 of 30


                               ALLIANCE OF DIVINE LOVE – CHAPEL 1202

       112       The plaintiff repeats and realleges the allegations contained above in all prior

             paragraphs, as though fully set forth at length.

       113        This Count is brought under Section 548(e) of the Bankruptcy Code because The

             Alliance of Divine Love Transfers were transfers device similar to a self-settled trust by

             the debtor with actual intent to hinder delay or defraud the debtor’s creditors.

       114       The Alliance of Divine Love Transfers were transfers of the interests of the debtor,

             Carol Dille in property.

       115       The transferee, the Alliance of Divine Love – Chapel 1202 was a Missouri nonprofit

             corporation, whose only member and officer was Carol Dille, who conducted the

             corporation’s affairs for her own benefit.

       116       As a nonprofit corporation with one member Alliance of Divine Love – Chapel 1202

             is a similar device to a self-settled trust.

       117       The Alliance of Divine Love Transfers were made for no consideration.

       118       After the Alliance of Divine Love Transfers were made, Carol Dille retained control

             of 781 NW 1621 and the funds transferred by her to Alliance of Divine Love – Chapel

             1202

       119       The Alliance of Divine Love Transfers were transfers of substantially all of Carol

             Dille’s assets.

       120       Carol Dille concealed the Alliance of Divine Love Transfers. Carol Dille was obliged

             to disclose the transfer of 781 NW 1621 in the above-captioned bankruptcy proceeding,

             but she failed to do so. Additionally, she was obliged to disclose the transfers of funds

             in the above-captioned bankruptcy case and on her other bankruptcy cases, filed on:

                                                       19
Case 18-42994-drd7           Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                  Desc Main
                                    Document    Page 20 of 30


              February 12, 2015 in the Western District of Missouri, case no. 15-40338-drd7: May 7,

              2015 in the Western District of Missouri, case no. 15-41327-drd13; and February 16,

              2016 in the Western District of Missouri, case no. 16-40342-drd13 – but she failed to do

              so.

        121         Carol Dille was insolvent when the Alliance of Divine Love Transfers were made or

              became insolvent as a result of the Alliance of Divine Love Transfers.

        122         The value of 781 NW 1621 and the funds transferred to the Alliance of Divine Love

              – Chapel 1202, were several hundred thousand dollars when the Alliance of Divine Love

              Transfers. were made.

        123         Carol Dille made the Alliance of Divine Love Transfers with the intent of hindering,

              delaying, and defrauding her then existing creditors including, but not limited to, her

              then-husband, Gerald Sanders and the United States Social Security Administration.

        124         When Carol Dille made the Alliance of Divine Love Transfers, she intended to incur

              or reasonably believe she would incur debts beyond her ability to pay as they came due,

              including, but not limited to, her ever-increasing debts owing Gerald Sanders and the

              United States Social Security Administration.



    WHEREFORE, the plaintiff respectfully prays that the Court enter a judgment for him and

    against the defendant the Alliance of Divine Love – Chapel 1202 avoiding the Alliance of Divine

    Love Transfers: preserving the transferred real estate for the benefit of the bankruptcy estate;

    entering judgment against the Alliance of Divine Love – Chapel 1202 for the value of the

    Alliance of Divine Love Transfers and granting such other and further relief as the Court deems

    just and equitable.

                                                     20
Case 18-42994-drd7        Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                    Desc Main
                                 Document    Page 21 of 30




           COUNT EIGHT – RECOVERY OF ESTATE PROPERTY – ALLIANCE OF

                                                DIVINE LOVE

       125       The plaintiff repeats and realleges the allegations contained above in all prior

             paragraphs, as though fully set forth at length.

       126       The plaintiff is entitled to avoid the Alliance of Divine Love Transfers described

             above pursuant to sections 548(e) and 544(b) of the Bankruptcy Code.

       127       The Alliance of Divine Love – Chapel 1202 was the initial transferee of the Alliance

             of Divine Love Transfers and the entity for whose benefit the Alliance of Divine Love

             Transfers were made.

       128       Pursuant to Section 550 of the Bankruptcy Code, the plaintiff is entitled to recover

             the property transferred or the value of the transfer from the Alliance of Divine Love

       129       Upon information and belief, the only property of value held by the Alliance of

             Divine Love - Chapel 1202 are 781 NW 1621 Rd. which was transferred as part of the

             Alliance of Divine Love Transfers and the adjacent lot, Lot 117, which was purchased

             with the funds transferred as part of the Alliance of Divine Love Transfers.

       130       The value of lot 117 is less than the sum of cash transferred as part of the Alliance of

             Divine Love Transfers



    WHEREFORE, the plaintiff respectfully prays that the Court enter a judgment for him and

    against the defendant the Dille Family Trust avoiding the Alliance of Divine Love Transfers and

    preserving the transferred real estate at 731 NW 1621 for the benefit of the bankruptcy estate;

                                                    21
Case 18-42994-drd7          Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                     Desc Main
                                   Document    Page 22 of 30


    ordering that Lot 117 be recovered by the plaintiff in partial satisfaction of the Alliance of

    Divine Love Transfers and granting such other and further relief as the Court deems just and

    equitable.



                 ALTER EGO / REVERSE VEIL PIERCING – DILLE FAMILY TRUST –

                  GREEN PEOPLE, LTD – AND THE ALLIANCE OF DIVINE LOVE –

                                                    CHAPEL 1202

        131       The plaintiff repeats and realleges the allegations contained above in all prior

              paragraphs, as though fully set forth at length.

        132       Carol Dille exercised complete dominion and control over all the affairs of Green

              People, Ltd. and The Alliance of Divine Love – Chapel 1202, from their inception to the

              present.

        133       Carol Dille’s control over Green People, Ltd. and The Alliance of Divine Love –

              Chapel 1202 was so complete that these entities have never had a separate mind, will, or

              existence of their own.

        134       Carol Dille has exercised complete dominion and control over the Dille Family

              Trust’s receipt of, ownership of, and management of 4937 Westwood, 4933 Westwood,

              and 260 East 66th.

        135       Carol Dille’s control over the Dille Family Trust’s receipt of, ownership of, and

              management of4937 Westwood, 4933 Westwood, and 260 East 66th was so complete

              that these this trust never had a separate mind, will, or existence relaing to the Dille

              Family Trust’s receipt of, ownership of, and management of 4937 Westwood, 4933

              Westwood, and 260 East 66th

                                                     22
Case 18-42994-drd7        Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                    Desc Main
                                 Document    Page 23 of 30


       136       Carol Dille used her domination and control of the Green People, Ltd., The Alliance

             of Divine Love – Chapel 1202, and the Dille Family Trust to hinder delay and defraud

             her creditors and to prevent them from collecting debts against her. Additionally, Carol

             Dille used her domination and control of these entities to prevent the administration of

             the real estate at 4937 Westwood, 4933 Westwood, 260 East 66th, 781 NW 1621, and Lot

             117 in the current above-captioned bankruptcy case, as well as her previous bankruptcy

             cases.

       137       Carol Dille’s use of her dominion and control of Green People, Ltd., The Alliance of

             Divine Love – Chapel 1202, and the Dille Family Trust has been dishonest, in violation

             of her duties as a debtor in her various bankruptcy cases, and has unjustly been in

             contravention of her creditors’ rights to be paid for their claims.

       138       Carol Dille’s use of her domination and control of the Green People, Ltd., The

             Alliance of Divine Love – Chapel 1202, and the Dille Family Trust has injured Ms.

             Dille’s creditors by preventing the payment of their claims by preventing them from

             seeking payment of their claims from the debtor’s interest in 4937 Westwood, 4933

             Westwood, 260 East 66th, 781 NW 1621, and Lot 117

       139       The titling of 4937 Westwood, 4933 Westwood, 260 East 66th, 781 NW 1621, and

             Lot 117 in the names of Green People, Ltd., The Alliance of Divine Love – Chapel

             1202, and the Dille Family Trust was a sham. At all times, Carol Dille, maintained and

             enjoyed complete control and domination of all of these properties.

       140       At all times Carol Dille exercised all rights of ownership in these properties.

       141       It would be equitable and would cure Carol Dille’s inequitable and unjust conduct

             for this Court to enter a judgment finding that Carol Dille is the fee simple owner of

                                                    23
Case 18-42994-drd7          Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                  Desc Main
                                   Document    Page 24 of 30


             4937 Westwood, 4933 Westwood, 260 East 66th, 781 NW 1621, and Lot 117.



    WHEREFORE, the plaintiff respectfully prays that the Court enter a judgment for finding that:

    (i) Carol Dille is the alter ego of Green People, Ltd., The Alliance of Divine Love – Chapel 1202,

    and the Dille Family Trust on all matters relating to 4937 Westwood, 4933 Westwood, 260 East

    66th, 781 NW 1621, and Lot 117; (ii) that Carol Dille is the fee simple owner of 4937 Westwood,

    4933 Westwood, 260 East 66th, 781 NW 1621, and Lot 117 and granting such other and further

    relief as the Court deems just and equitable.



                                    QUIET TITLE – ALL DEFENDANTS

       142       The plaintiff repeats and realleges the allegations contained above in all prior

             paragraphs, as though fully set forth at length.

       143       In this Count, the plaintiff requests that this Court determine who holds title or

             ownership interests in the Real Estate and to define by its judgment who the owners of

             the Real estate are.

       144       This Count is brought pursuant to Section 105 of the Bankruptcy Code and section

             527.150 of Missouri’s Statutes.

       145       All the defendants herein may claim some right title to or ownership interest in the

             Real Estate.

       146       The plaintiff, as trustee, has the rights and powers of, or may avoid any transfer of

             property of the debtor that is voidable by a bona fide purchaser of real property, other

             than fixtures, from the debtor, against whom applicable law permits such transfer to be

             perfected, that obtains the status of a bona fide purchaser and has perfected such

                                                    24
Case 18-42994-drd7        Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                     Desc Main
                                 Document    Page 25 of 30


             transfer at the time of the commencement of the case.

       147       The plaintiff, as trustee, has the rights and powers of, or may avoid any transfer of

             property of the debtor that is voidable creditor that extends credit to the debtor at the

             time of the commencement of the case, and that obtains, at such time and with respect

             to such credit, a judicial lien on all property on which a creditor on a simple contract

             could have obtained such a judicial lien.

       148       Defendant, Alliance of Divine Love - Chapel 1202 was a Missouri non-profit

             corporation which was formed on February 29, 2012 by Carol L. Dille and which was

             administratively dissolved on December 18, 2013.

       149       Following Alliance of Divine Love - Chapel 1202’s dissolution, it was prohibited

             from carrying on any activities other than the winding up of its affairs.

       150       In July 2017, Carol Dille purported to convey 781 NW 1621 St. to Defendant,

             Alliance of Divine Love - Chapel 1202 via quitclaim deed.

       151       This attempt at a conveyance was void because it was not done for the purpose of

             winding up the affairs of Alliance of Divine Love - Chapel 1202 and a fee simple interest

             in 781 NW 1621 continued to reside in Carol Dille after July of 2017.

       152       Defendant, The Dille Family Revocable Trust is a spendthrift trust created for the

             benefit of the settlor – Catherine Dille, Carol Dille, and Carol Dille’s brother, Chris

             Dille.

       153       The Dille Family Revocable Trust instrument provides that the only property in the

             trust was 4605 Liberty.

       154       No provision of the Dille Family Revocable Trust instrument permits the acquisition

             of any additional property.

                                                    25
Case 18-42994-drd7         Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                    Desc Main
                                  Document    Page 26 of 30


       155       The Dille Family Revocable Trust instrument provides that all property of the trust

             was to be distributed upon the death of Catherine Dille.

       156       The Dille Family Revocable Trust instrument contains a spendthrift provision.

       157       Catherine Dille passed away in 2011.

       158       On March 30, 2014, the Dille Family Revocable Trust conveyed 4605 Liberty, all of

             its property, to Carol Dille and Chris Dille jointly.

       159       At the time of the May 30, 2014 distribution of 4605 Liberty, the Dille Family

             Revocable Trust ceased to exist as a matter of law.

       160       In a quitclaim deed, dated October 20, 2014, Carol Linda Dille, purported to convey

             her interest in 4937 Westwood to the Dille Family Revocable Trust. This attempt at a

             transfer was void because the Dille Family Revocable Trust no longer existed.

       161       In a quitclaim deed, dated December 15, 2014, Carol Linda Dille, purported to

             convey her interest in 4933 Westwood to the Dille Family Revocable Trust. This

             attempt at transfer was void because the Dille Family Revocable Trust no longer existed.

       162       On December 11, 2014, Carol L. Dille executed a quitclaim deed, purportedly on

             behalf of the Green People, Ltd. quit claiming all right title and interest in 206 East 66th

             to the Dille Family Revocable Trust. This attempt at a transfer was void because the

             Dille Family Revocable Trust no longer existed.

       163       On September 30, 2016, Alliance of Divine Love – Chapel 1202, was deeded Lot 117

             via warranty deed. Lot 117 was purchased with Carol Dille’s funds which had been

             transferred to Alliance of Divine Love – Chapel 1202.

       164       On September 30, 2016, Alliance of Divine Love - Chapel 1202 had been

             administratively dissolved for years and it was prohibited from carrying on any activities

                                                    26
Case 18-42994-drd7         Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                     Desc Main
                                  Document    Page 27 of 30


             other than the winding up of its affairs.

       165       The conveyance of Lot 117 was actually a straw-man transaction. The property was

             conveyed to Carol Dille, who at the time was using the name Alliance of Divine Love -

             Chapel 1202 functionally as an alias, since that entity no longer existed.

       166       When the above captioned bankruptcy case commenced on November 20, 2018,

             Carol Dille had legal and equitable title to Lot 117; 781 NW 1621st; 4937 Westwood; and

             4933 Westwood. Additionally, Carol Dille had a joint ownership interest with Chris

             Dille in 4605 Liberty.

       167       Additionally, on the day the above-captioned case commenced, legal title to 206 East

             66th was in the name of the Green People, Ltd.

       168       When the above-captioned case commenced, the debtor, Carol Dille, was the only

             officer or upon information and belief, the only shareholder of the Green People, Ltd.

       169       Upon the commencement of the debtor’s bankruptcy case, title to Lot 117; 781 NW

             1621st; 4937 Westwood; and 4933 Westwood became property of the above-captioned

             bankruptcy estate.

       170       Upon the commencement of the debtor’s bankruptcy case all the debtor’s right title

             in interest in the Green People, Ltd. along with the debtor’s power to act for or on

             behalf of the Green People, Ltd. became property of the estate.



             WHEREFORE the plaintiff respectfully requests that this Court enter its judgment

             finding that (i) the plaintiff, as trustee of the above captioned bankruptcy estate is the fee

             simple owner of Lot 117; 781 NW 1621st; 4937 Westwood;; and 4933 Westwood, as well

             as the owner of a ½ interest in 4605 Liberty; (ii) the Green People, Ltd. is the titled fee

                                                    27
Case 18-42994-drd7         Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                     Desc Main
                                  Document    Page 28 of 30


             simple owner of 206 East 66; (iii) the plaintiff, as trustee of the above captioned

             bankruptcy estate is the holder of all shares of the Green People, Ltd. and is also the

             holder of the debtor’s power as an officer of the Green People, Ltd. to act on behalf of

             the Green People, Ltd; (iv) approving and finding that the plaintiff has exercised the

             right to act on behalf of the Green People, Ltd. to convey all rights and title to 206 East

             66th to the plaintiff as trustee of the above-captioned bankruptcy estate; and (v) granting

             such other and further relief as the Court deems just and equitable.



             DETERMINE EXTENT VALIDITY AND PRIORITY OF LIENS – GENTRY

                               ROOFING AND SASHA INVESTMENTS, LLC.

       171       The plaintiff repeats and realleges the allegations contained above in all prior

             paragraphs, as though fully set forth at length.

       172       On or about December 31, 2012, the Circuit Court of Jackson County, Missouri

             issued a levy against 206 East 66th in Jackson County, Missouri case number 1216-

             CV02001, Gentry Roofing, LLC v. Carol Dille, et al. for the benefit of the plaintiff and

             judgment creditor, Gentry Roofing, LLC

       173       Notice of this levy was issued by the Circuit Court of Jackson County, Missouri on

             January 2, 2013, indicating that the levy had a return date of April 1, 2013.

       174       Subsequent to the issuance of notice of the levy, the plaintiff, Gentry Roofing filed a

             satisfaction of judgment in case number 1216-CV02001.

       175       Accordingly, Gentry Roofing, LLC has no lien, right, title or interest in 206 East 66th.

       176       On or about July 17, 2017, the debtor Carol Dille executed a promissory note

             payable to Sasha Investments, LLC in which she promised to pay Sasha Investments

                                                    28
Case 18-42994-drd7         Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                      Desc Main
                                  Document    Page 29 of 30


             $101,000.

       177       In order to secure this obligation, Loren Rea, as trustee of the Dille Family

             Revocable Trust executed a deed of trust, dated July 17, 2017 granting Sasha

             Investments a lien in 4937 Westwood to secure the debtor’s obligation to pay Sasha

             Investments $101,000.

       178       Defendant, The Dille Family Revocable Trust is a spendthrift trust for the benefit of

             the settlor – Catherine Dille, Carol Dille, and Carol Dille’s brother, Chris Dille.

       179       The Dille Family Revocable Trust instrument further provides that the only property

             in the trust was 4605 Liberty.

       180       No provision of the Dille Family Revocable Trust instrument permits the acquisition

             of any additional property.

       181       The Dille Family Revocable Trust instrument further provides that all property of

             the trust was to be distributed upon the death of Catherine Dille.

       182       The Dille Family Revocable Trust instrument contains a spendthrift provision.

       183       Catherine Dille passed away in 2011.

       184       On March 30, 2014, the Dille Family Revocable Trust conveyed 4605 Liberty, all of

             its property, jointly to Carol Dille and Chris Dille.

       185       At the time of the May 30, 2014 distribution of 4605 Liberty, the Dille Family

             Revocable Trust ceased to exist as a matter of law.

       186       In a quitclaim deed, dated October 20, 2014, Carol Linda Dille, purported to convey

             her interest in 4937 Westwood to the Dille Family Revocable Trust. This attempt at a

             transfer was void because the Dille Family Revocable Trust no longer existed.

       187       The Dille Family Revocable Trust does not now and has not ever had an ownership

                                                    29
Case 18-42994-drd7           Doc 270 Filed 11/20/20 Entered 11/20/20 16:15:35                    Desc Main
                                    Document    Page 30 of 30


              interest in 4937 Westwood.

        188       No interest in real estate in the state of Missouri, including a lien or deed of trust,

              may be conveyed without the conveyance being in writing and signed by an owner of the

              real estate.

        189       The deed of trust in favor of Sasha Investments, LLC on 4937 Westwood is

              executed only by Loren Rea, who has no ownership interest in 4937 Westwood and

              never has had any.

        190       Consequently, Sasha Investments, LLC has no interest in 4937 Westwood.



    WHEREFORE, the plaintiff respectfully prays that the Court enter a judgment for him and

    against the Gentry Roofing, LLC and Sasha Investments, LLC finding (i) Gentry Roofing, LLC

    has no lien or interest in 206 East 66th; (ii) Sasha Investments, LLC has no lien or interest in 206

    East 66th; and (iii) granting such other and further relief as the Court deems just and equitable.


                                                   Respectfully submitted,

                                                   MERRICK, BAKER & STRAUSS, P.C.

                                                   By: /s/ Victor F Weber
                                                   BRUCE E. STRAUSS             MO#26323
                                                   VICTOR F. WEBER              MO#57361
                                                   1044 Main Street
                                                   Suite 500
                                                   Kansas City, MO 64105
                                                   Telephone: (816) 221-8855
                                                   Facsimile:    (816) 221-7886




                                                     30
